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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                )
                                         )      No. 1:07 CV 12058-PBS
                                         )
                                         )     MOTION FOR TRAVEL AUTHORIZATION
             vs.                         )           FOR RESPONDENT
                                         )
JOEL WETMORE,                            )
                                         )
                    Respondent           )

      James B. Craven III, counsel for the respondent, Joel Wetmore, respectfully

shows the Court that:

      1. The Court previously authorized Dr. Fabian Saleh to make one trip to Maine

          to consult with Joel Wetmore about his medications and other concerns.

      2. Dr. Saleh has been advised by the Maine medical board that he would need

          a Maine medical license in order to consult with Joel Wetmore in Maine. Dr.

          Saleh is not licensed in Maine, only in Massachusetts.

      WHEREFORE we respectfully pray the Court for an order authorizing Joel

Wetmore to travel from Portland, Maine to Massachusetts to meet with Dr. Saleh in

July, at a place and time of their choosing.

                                                Respectfully submitted,


                                                /s/ James B. Craven III
                                                James B. Craven III
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                          CERTIFICATE OF SERVICE

I have this day served Government counsel electronically:

                   Jennifer A. Serafyn, Esquire
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                   1 Courthouse Way
                   Boston, MA 02110



This 17th day of June 2019.


                                 /s/ James B. Craven III
                                 James B. Craven III




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